B1 (Official Form 1)Case
                     (4/10)    10-47099             Doc 1         Filed 10/21/10               Entered 10/21/10 11:20:28                         Desc Main
                                    UNITED STATES BANKRUPTCYDocument
                                                            COURT                              Page 1 of 7
                                                                                                                                       VOLUNTARY PETITION
                                     Northern
                                     __________ District of__________
                                                District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  O'Neil, Tracey M.                                                                              n/a
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
 none
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                  (if more than one, state all):
 3335
 Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
 16005 Lavergne
 Oak Forest, IL
                                                                      ZIP CODE 60452                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Cook
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
  same

                                                                 ZIP CODE                                                                                     ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
  n/a                                                                                                                                                      ZIP CODE
                      Type of Debtor                                        Nature of Business                              Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                                     (Check one box.)                                  the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                          ✔       Chapter 7               Chapter 15 Petition for
 ✔      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in                Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                  Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                              Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                           Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                              Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                  Nature of Debts
                                                              ___________________________________                                         (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                       debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization              § 101(8) as “incurred by an
                                                                      under Title 26 of the United States              individual primarily for a
                                                                      Code (the Internal Revenue Code).                personal, family, or house-
                                                                                                                       hold purpose.”
                                Filing Fee (Check one box.)                                                                       Chapter 11 Debtors
                                                                                                 Check one box:
 ✔      Full Filing Fee attached.                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is           Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.           -----------------------------------
                                                                                                 Check all applicable boxes:
                                                                                                     A plan is being filed with this petition.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                 COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
 ✔         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-          25,001-           50,001-          Over
                                                             5,000           10,000         25,000           50,000            100,000          100,000

 Estimated Assets
 ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
 Estimated Liabilities
 ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
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 Voluntary Petition                                                   Document                 Page
                                                                                                Name of2Debtor(s):
                                                                                                         of 7
 (This page must be completed and filed in every case.)                                Tracey M. O'Neil
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed: none
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                      Case Number:                                     Date Filed:
                       none
 District:                                                                                       Relationship:                                   Judge:
                     Northern District of Illinois
                                           Exhibit A                                                                                 Exhibit B
                                                                                                                     (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q)                           whose debts are primarily consumer debts.)
 with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
 Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                     I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                                 or 13 of title 11, United States Code, and have explained the relief available under
                                                                                                 each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                 required by 11 U.S.C. § 342(b).

         Exhibit A is attached and made a part of this petition.                                 X      /s/ Gerald Bauer Jr.                      10/20/2010
                                                                                                     Signature of Attorney for Debtor(s)       (Date)

                                                                                       Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

 ✔       No.


                                                                                       Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔       Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

          Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)
                                                                                                  n/a
                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)                                      Tracey M. O'Neil
                                                                                   Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                  Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is
and correct.                                                                                true and correct, that I am the foreign representative of a debtor in a foreign
[If petitioner is an individual whose debts are primarily consumer debts and has            proceeding, and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I         Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                      order granting recognition of the foreign main proceeding is attached.

X     /s/ Tracey M. O'Neil                                                                  X
     Signature of Debtor                                                                        (Signature of Foreign Representative)

X
     Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
      10/20/2010                                                                                Date
     Date
                                 Signature of Attorney*                                                Signature of Non-Attorney Bankruptcy Petition Preparer

X     /s/ Gerald Bauer Jr                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Gerald Bauer Jr.                                                                      provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Law Office of Gerald Bauer Jr.                                                        guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
     Firm Name                                                                              maximum fee for services chargeable by bankruptcy petition preparers, I have given
      6006 W. 159th St., Bldg A                                                             the debtor notice of the maximum amount before preparing any document for filing
                                                                                            for a debtor or accepting any fee from the debtor, as required in that section.
      Oak Forest, IL 60452                                                                  Official Form 19 is attached.
     Address
      708-687-8000
     Telephone Number                                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer
      10/20/2010
     Date                                                                                       Social-Security number (If the bankruptcy petition preparer is not an
                                                                                                individual, state the Social-Security number of the officer, principal,
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                   responsible person or partner of the bankruptcy petition preparer.) (Required
certification that the attorney has no knowledge after an inquiry that the information          by 11 U.S.C. § 110.)
in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true       Address
and correct, and that I have been authorized to file this petition on behalf of the         X
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States        Date
Code, specified in this petition.
                                                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person,
X                                                                                           or partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                            Names and Social-Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                            assisted in preparing this document unless the bankruptcy petition preparer is not an
     Title of Authorized Individual                                                         individual.

     Date                                                                                   If more than one person prepared this document, attach additional sheets
                                                                                            conforming to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                            and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment
                                                                                            or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




               Reset                                                                                                Save As...                            Print
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B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern                 Illinois
                                            __________ District of __________


                    Tracey M. O'Neil
          In re__________________________                                       Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          ’ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        ’ 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE: TRACEY M. O’NEIL                    )       Chapter 7
                                           )       Bankruptcy Case No.
                                           )
       Debtor(s)                           )
                                           )

                        VERIFICATION OF CREDITOR MATRIX



        The above named Debtor(s) hereby verify that the attached list of creditors is true and
correct to the best of his/her/their knowledge.



Date: 10/20/2010                                            /s/ TRACEY M. O’NEIL
                                                   Debtor

                                                   ____________________________________
                                                   Joint Debtor
